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PROB 12C - (Rev. D/NM-8/2014)

Name of Offender:
Docket Number:
Assigned Judge:

Date of Original Sentence:

Original Offense:
Original Sentence:

57674

UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF NEW MEXICO

Petition for Revocation of Supervised Release

Derek Chavez

1084 1:09CR03366 -003 WJ

Honorable William P. Johnson, United States District Judge
02/10/2012

18 U.S.C. 3: Accessory After the Fact

BOP: 24 months; TSR:3 years

Date Supervision

10/23/2017

Recommenced:

Date Supervision Expires:
Other Court Action:

02/22/2020

‘On October 23, 2017, the defendant’s supervised release was revoked for
absconding from supervision and failing to obtain employment. The
defendant was sentenced to 56 days (Time Served) with 28 months of
supervised release to follow.

 

PETITIONING THE COURT

To issue a warrant.

U.S. Probation Officer of the Court, Erick Newton, alleges the offender has violated the following condition(s)
of supervised release.

Violation

Type
sc

SPC

Nature of Noncompliance

The defendant shall notify the probation officer at least ten days prior to any change in residence
or employment.

On November 1, 2017, the probation officer contacted the defendant’s aunt, who agreed to third
party custody of the defendant. She indicated the defendant left the apartment in the evening on
October 26, 2017, and she had not seen him since then. On November 8, 2017, the probation
officer contacted the defendant’s aunt again, to see if he had returned, but she stated he still had
not returned to the residence since October 26, 2017. The defendant was declared an absconder
from supervision on November 8, 2017.

The defendant must participate in and successfully complete an outpatient substance abuse
treatment program approved by the probation officer, which may include testing. The defendant
is prohibited from obstructing or attempting to obstruct or tamper, in any fashion, with the
collection, efficiency and accuracy of any substance abuse testing device or procedure. The
defendant may be required to pay a portion of the cost of treatment and/or drug testing as
determined by the Probation Office.

On October 25, 2017, the defendant was referred for substance abuse counseling and drug
testing at A New Awakening treatment program. The program staff members made numerous
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attempts to contact the defendant, but he never returned their calls. Messages were left with the
defendant’s aunt and she confirmed delivery of those messages. The defendant told his aunt he
would report directly to the program, but he did not. On November 8, 2017, the defendant was
terminated from A New Awakening for failing to attend any sessions.

The maximum statutory penalty: 2 years imprisonment; 3 years supervised release. Underlying Class C Felony.
The revocation range of imprisonment: 3 to 9 months. CHC f. Grade C violation.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 11/08/2017.

Submitted: Approved: Phone Approval

Erick Newton Kimberly Brawley
U.S. Probation Officer (505) 346-7274
Assistant U.S. Attomey

Date: 11/08/2017
